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                          UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT
                               OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
  Elisabeth A. Shumaker                                                               Chris Wolpert
  Clerk of Court                          May 03, 2018                           Chief Deputy Clerk




  Ms. Sue Becker
  Mr. Kris W. Kobach
  Mr. Garrett Roe
  Kansas Secretary of State
  120 SW 10th Avenue, 1st Floor
  Topeka, KS 66612-1594


  RE:       18-3094, Fish, et al. v. Kobach
            Dist/Ag docket: 2:16-CV-02105-JAR

  Dear Counsel:

  The court has received and docketed your appeal. Please note your case number above.
  Copies of the Tenth Circuit Rules, effective January 1, 2018, and the Federal Rules of
  Appellate Procedure, effective December 1, 2017, may be obtained by contacting this
  office or by visiting our website at http://www.ca10.uscourts.gov. In addition, please note
  all counsel are required to file pleadings via the court's Electronic Case Filing (ECF)
  system. You will find information regarding registering for and using ECF on the court's
  website. We invite you to contact us with any questions you may have about our
  operating procedures. Please note that all court forms are now available on the court's
  web site.

  Attorneys must complete and file an entry of appearance form within 14 days of the date
  of this letter. See 10th Cir. R. 46.1(A). Pro se parties must complete and file the form
  within thirty days of the date of this letter. An attorney who fails to enter an appearance
  within that time frame will be removed from the service list for this case, and there may
  be other ramifications under the rules. If an appellee does not wish to participate in the
  appeal, a notice of non-participation should be filed via ECF as soon as possible. The
  notice should also indicate whether counsel wishes to continue receiving notice or service
  of orders issued in the case.

  You are required to file a docketing statement within 14 days of filing the notice of
  appeal. If you have not yet filed that pleading, you should do so within 14 days of the
  date of this letter. Please note that under 10th Cir. R. 3.4(B), the appellant is not limited
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  to the issues identified in his docketing statement and may raise other appropriate issues
  in the opening brief.

  In addition to the docketing statement, all transcripts must be ordered within 14 days of
  the date of this letter. If no transcript is necessary, you must file a statement to that effect.

  Appellant is not required to file a designation of record, but will be required to file an
  appendix with appellant's opening brief. See 10th Cir. R. 10.2(B) and 30.1.

  Appellant must file an opening brief and appendix within 40 days after the date on which
  the district clerk notifies the parties and the circuit clerk that the record is complete for
  purposes of appeal. See 10th Cir. R. 31.1(A)(1). Motions for extension of time to file
  briefs and appendices must comply with 10th Cir. R. 27.1 and 27.5. These motions are
  not favored.

  Briefs must satisfy all requirements of the Federal Rules of Appellate Procedure and
  Tenth Circuit Rules with respect to form and content. See specifically Fed. R. App. P. 28
  and 32 and 10th Cir. R. 28.1, 28.2 and 32, as well as 31.3 when applicable. In addition,
  we encourage all counsel, as applicable, to be familiar with 10th Cir. R. 46.4(B). Seven
  hard copies of briefs must be provided to the court within two days of filing via the
  court's Electronic Case Filing system. See 10th Cir. R. 31.5 and the court's CM/ECF
  User's Manual. Appendices must satisfy the requirements of Fed. R. App. P. Rule 30 and
  10th Cir. R. 30.1(A) through (F). Appendix volumes submitted under seal must be
  accompanied by a separate motion to seal. See 10th Cir. R. 30.1(D)(6). As of January 1,
  2015, all appendices must be filed electronically, and a single hard copy provided to the
  court within two days of filing via the court's Electronic Case Filing system. See 10th Cir.
  R. 30 as well as the court's CM/ECF User's Manual. Counsel are encouraged to utilize the
  court's Briefing & Appendix checklist when compiling their briefs and appendices.

  Please contact this office if you have questions.

                                                 Sincerely,



                                                 Elisabeth A. Shumaker
                                                 Clerk of the Court



  cc:      Stephen Douglas Bonney
           Rodkangyil Orion Danjuma
           Daphne Ha
           Dale Ho
           Sophia Lin Lakin
           Angela M. Liu

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           Neil A. Steiner
           Rebecca Kahan Waldman
           Emily Rong Zhang



  EAS/dd




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